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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION

 JOHN DOE,                                                     Case No. 3:19-CV-00130-SI
                                     Plaintiff,    NOTICE OF VOLUNTARY DISMISSAL
                     vs.
 REED COLLEGE,
                                   Defendant.




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         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff John Doe hereby voluntarily
dismisses this cause of action in its entirety without prejudice.
         DATED this 8th day of February, 2019.


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